Case: 1:18-cv-07578 Document #: 57 Filed: 05/10/19 Page 1 of 2 PagelD #:6344

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
GIANNI VERSACE, S.P.A.,
Case No. 18-cv-07578
Plaintiff,
Judge Jorge L. Alonso
v.
Magistrate Judge Jeffrey Cole
XIE JI PING, et al.,
Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on January 17, 2019 [48], in
favor of Plaintiff Gianni Versace, S.p.A. (“Plaintiff’ or “Versace”) and against the Defendants
Identified in Schedule A in the amount of one million dollars ($1,000,000) per Defaulting
Defendant for willful use of counterfeit Versace Trademarks in connection with the offer for sale
and/or sale of products through at least the Defendant Internet Stores, and Versace acknowledges
payment of an agreed upon damages amount, costs, and interest and desires to release this

judgment and hereby fully and completely satisfy the same as to the following Defendants:

 

Defendant Name Line No.

 

 

 

Eagle 358

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 

 
Case: 1:18-cv-07578 Document #: 57 Filed: 05/10/19 Page 2 of 2 PagelD #:6345

Dated this 10th day of May 2019.

Respectfully submitted,

(Al A-

Paul G. Juettner

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Counsel for Plaintiff Gianni Versace S.P_A.

Subscribed and sworn to me by Abby M. Neu, on this 10th day of May 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal

Notary Public - State of illinois
My Commission Expires Nov 16, 2022

 

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Notary Puli A

 

State of Illinois
County of Cook
